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                         EXHIBIT 6
            Case
12/11/23, 10:27 AM 2:23-cv-01774-JDC-TPL                Document       1-6 FiledFollow-Up
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                                                                                          and Proposed    2 of 4 PageID #: 47
                                                                                                       Clarification



                                                                                             Drew Ensign <drewensignlaw@gmail.com>



  Fwd: EPA-2023-005099 Follow-Up and Proposed Clarification
  Giddings, Daniel <giddings.daniel@epa.gov>                                             Wed, Nov 22, 2023 at 12:58 PM
  To: Drew Ensign <drewensignlaw@gmail.com>, "Creech, Christopher (he/him/his)" <Creech.Christopher@epa.gov>,
  "Dykeman, Denise (she/her/hers)" <Dykeman.Denise@epa.gov>, "Stein, Jonathan" <Stein.Jonathan@epa.gov>, "Hoang,
  Anhthu" <Hoang.Anhthu@epa.gov>
  Cc: "St. John, Joseph" <StJohnJ@ag.louisiana.gov>, "Johnson, Laura-S" <Johnson.Laura-S@epa.gov>, "Khan, Zahra"
  <Khan.Zahra@epa.gov>, "Gebrewold, Besrat" <Gebrewold.Besrat@epa.gov>


    Mr. Ensign,



    FOIA Request EPA-2023-005099 produced a large volume of potentially responsive documents such that we have had to
    secure additional contract support to review. Due to the large volume of documents produced, we plan on making these
    releases available to you in batches. Unfortunately, the first batch as it currently exists won’t be available until December
    4th or 5th due to an additional internal 72 hour review requirement. If you were amenable to a one week extension from
    December 1 to December 8 for the first batch, we can both expand the number of documents in the first batch beyond
    what we have now AND get the additional documents through the internal review requirement.



    Upon release of the first batch we should discuss deadlines for the release of subsequent batches. We appreciate your
    flexibility as we work to get you access to as many of these documents as quickly as possible.



    Have a happy holiday this week!



    Best,



    Danny Giddings (he/him/his)
    Staff Officer (formerly known as Chief of Staff)

    Office of Environmental Justice and External Civil Rights

    202-768-2100




    From: Giddings, Daniel
    Sent: Tuesday, October 17, 2023 3:12 PM
    To: Drew Ensign <drewensignlaw@gmail.com>; Creech, Christopher (he/him/his) <Creech.Christopher@epa.gov>;
    Dykeman, Denise (she/her/hers) <Dykeman.Denise@epa.gov>; Stein, Jonathan <Stein.Jonathan@epa.gov>; Hoang,
    Anhthu <Hoang.Anhthu@epa.gov>
    Cc: St. John, Joseph <StJohnJ@ag.louisiana.gov>
    Subject: RE: EPA-2023-005099 Follow-Up and Proposed Clarification



    Mr. Ensign,



https://mail.google.com/mail/u/1/?ik=4607b43278&view=pt&search=all&permmsgid=msg-f:1783295493397958303&dsqt=1&simpl=msg-f:1783295493397958303   1/3
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                                                                                                       Clarification
    Thank you for your email. We have completed the search and collection steps for your request. The next step is to
    complete the responsiveness and privilege review of the records and then produce them to you. At this point, December
    1, 2023 remains your estimated date of completion. We will update you if that changes. Please don’t hesitate to reach out
    if you have questions.



    Best,



    Danny Giddings (he/him/his)
    Staff Officer (formerly known as Chief of Staff)

    Office of Environmental Justice and External Civil Rights

    202-768-2100




    From: Drew Ensign <drewensignlaw@gmail.com>
    Sent: Tuesday, October 10, 2023 2:33 PM
    To: Giddings, Daniel <giddings.daniel@epa.gov>; Creech, Christopher (he/him/his) <Creech.Christopher@epa.gov>;
    Dykeman, Denise (she/her/hers) <Dykeman.Denise@epa.gov>; Stein, Jonathan <Stein.Jonathan@epa.gov>
    Cc: St. John, Joseph <StJohnJ@ag.louisiana.gov>
    Subject: Re: EPA-2023-005099 Follow-Up and Proposed Clarification



        Caution: This email originated from outside EPA, please exercise additional caution when deciding whether to open
        attachments or click on provided links.




    Hi all,



    We wanted to check in regarding the status of this FOIA request (EPA-2023-005099). Our understanding from our August
    30 call was that the production would be on a rolling basis, but we have yet to receive any documents--or even any
    information about whether the search terms produced manageable numbers of hits.



    Can you please give us an update as to the status of the production and when we can expect to start receiving
    documents?



    In addition, if there are any issues with the search terms that we discussed on the August 30 call, we ask that you let us
    know within the next week. On our August 30 call, you had indicated that you would let us know if you were encountering
    any issues with the search terms and anticipated an iterative process if the terms were creating too many hits. Because
    we have not heard from you regarding those search terms, we assume that they are sufficiently narrow to facilitate an on-
    time production.



    We also request that you confirm that you will be able to complete production by December 1, as your August 25 letter
    indicated. Alternatively, if that is no longer the case, we ask that you let us know promptly so that we can evaluate whether
    we need to seek relief as appropriate.



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            Case
12/11/23, 10:27 AM 2:23-cv-01774-JDC-TPL                Document       1-6 FiledFollow-Up
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                                                                                          and Proposed    4 of 4 PageID #: 49
                                                                                                       Clarification
    Sincerely,

    Drew




       From: giddings.daniel@epa.gov
       Date: August 25, 2023 at 3:51:05 PM CDT
       To: "St. John, Joseph" <StJohnJ@ag.louisiana.gov>
       Cc: Creech.Christopher@epa.gov, dykeman.denise@epa.gov, Stein.Jonathan@epa.gov
       Subject: EPA-2023-005099 Follow-Up and Proposed Clarification

       ﻿CAUTION: This email originated outside of Louisiana Department of Justice. Do not click links or open attachments
       unless you recognize the sender and know the content is safe.


       Dear Mr. Joseph S. St. John:

       Good afternoon. I hope this finds you and yours all well and safe from the fires out that way. A truly concerning
       situation!

       Thank you for meeting with us earlier this week. As promised, I've drafted a letter that hopefully captures what we
       discussed.

       I look forward to discussing further with you next week to confirm the parameters of the request and the search.

       Best,

       Denise



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       mail administrator directly, please send an e-mail to postmaster@ag.state.la.us.




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